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                    IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF PUERTO RICO

MARITZA D. CRUZ RODRIGUEZ                   CASE NO. 19-CV-1318 (CCC)

      PLAINTIFF

              Vs.

UNIVERSITY OF PUERTO RICO; ET ALS

      DEFENDANTS


                      OPOSITION TO MOTION TO DISMISS

TO THE HONORABLE COURT:

COMES NOW plaintiff, through its undersigned legal counsel, and very respectfully

states and prays as follows:

      1.      After studying defendants Motion to Dismiss, plaintiff does not

object to the dismissal of the federal claims under ADA.

      2.      Notwithstanding, plaintiff objects defendant’s request for dismissal

regarding the supplemental state law claims.

      3.      The decision whether to exercise supplemental jurisdiction is left to

the sound discretion of the district court. See Vera-Lozano v. International

Broad., 50 F.3d 67, 70 (1st Cir.1995).            A federal court may exercise

supplemental jurisdiction over a state claim whenever it is joined with a federal

claim and the two claims “derive from a common nucleus of operative fact” and

the plaintiff “would ordinarily be expected to try them both in one judicial

proceeding.” Id. (quoting United Mine Workers v. Gibbs, 383 U.S. 715, 725, 86

S.Ct. 1130, 16 L.Ed.2d 218 (1966)) (internal quotation marks omitted).         The
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supplemental jurisdiction statute states that a district court may refuse to

exercise     supplemental    jurisdiction   if   the    state   claim   “substantially

predominates over the claim or claims over which the district court has original

jurisdiction” or “the claim raises a novel or complex issue of state law.”         28

U.S.C. §§ 1367(c)(1), (c)(2).   The district court should consider on remand

whether to stay, act on plaintiff’s state law claims.

      4.      As the Supreme Court noted, 28 U.S.C. § 1367 provides litigants

an “opportunity … to pursue complete relief in a federal-court lawsuit.”

Arbaugh v. Y & H Corp., 126 S. Ct. 1235, 1240 (2006). Section 1367 codified

the concept of pendent or ancillary jurisdiction set forth in United Mine

Workers of America v. Gibbs, 383 U.S. 715 (1966). The section also provides

the statutory basis upon which a federal district court can exercise subject

matter jurisdiction over a state law claim that could not, by itself, be

brought in federal court if such a claim arises from the same set of

operative facts that form the basis of the underlying federal claim.

Specifically, § 1367(a) provides, in relevant part, that “district courts shall have

supplemental jurisdiction over all other claims that are so related to claims in

the action within [the court’s] original jurisdiction that they form part of the

same case or controversy under Article III of the United States Constitution.”

28 U.S.C. § 1367(a) (emphasis added).

      5.      It the present case, plaintiff’s state law claims claim arise from the

same set of operative facts that form the basis of the underlying federal claim.
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Furthermore, state and federal law are very similar regarding protections to

plaintiff, therefore supplemental jurisdiction is warranted.

      WHEREFORE, it is requested that this Honorable Court exercises its

supplemental jurisdiction regarding the state law claims. In the alternative, this

Honorable Court should remand plaintiff’s state law claims.

      RESPECTFULLY SUBMITTED.

      IT IS HEREBY CERTIFIED that on this same date, the foregoing was

electronically filed with the Clerk of the Court using the CM/ECF system which

will send notification of such filing to counsel for plaintiff.

      In Aguadilla , Puerto Rico this 5th day of June, 2019.



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